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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 Nautilus Insurance Company,                                 C/A No.: 2:22-cv-1307-RMG

                      Plaintiff,

 v.                                                     Michael “Tony” Satterfield and Brian
                                                                Harriott’s Sur-Reply
 Richard Alexander Murdaugh, Sr.; Cory
 Fleming, Moss & Kuhn, P.A.; Chad
 Westendorf; and Palmetto State Bank,

                     Defendants.


         While non-parties Michael “Tony” Satterfield and Brian Harriott (the “Satterfields”) are

sensitive to the discouragement of Reply briefing under Local Rule 7.07, they feel compelled to

respond to the misinformation and inconsistencies in Defendant Murdaugh’s Reply to Non-Parties’

Satterfield and Harriott’s Limited Appearance to Disavow Interest (“Murdaugh’s Reply”).

Respectfully, the Satterfields will be brief, but call the Court’s attention to the following issues:

      1. While Murdaugh claims now that the Satterfields are necessary and indispensable parties

         to the Nautilus / Murdaugh litigation, he failed to assert that Nautilus was a necessary and

         indispensable party to the Satterfield / Murdaugh litigation. Obviously, the constellation

         of parties is the same, as are the concerns that Murdaugh now addresses to the Court. To

         the extent that Murdaugh now claims a concern about inconsistent rulings or double

         exposure to liability, the exact same dynamics existed in the Satterfield / Murdaugh

         litigation. The timeline here is compelling. Murdaugh accepted service of the Complaint

         in the Nautilus case on May 3, 2022. He then entered into the Confession of Judgment

         with the Satterfields on May 27, 2022, after five months of intense negotiation on the

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         language and post-execution restrictions with the court appointed Receivers, Murdaugh’s

         current counsel and the undersigned. The Confession was later entered of record in the

         Satterfield action on May 31, 2022, by the Honorable Daniel Hall. To the extent that the

         Satterfields are necessary and indispensable parties to the present litigation (and we urge

         the Court that they are not), one must argue that so too was Nautilus a necessary and

         indispensable party to the Satterfield case. 1 Not only did Murdaugh fail to move for the

         joinder of Nautilus in the Satterfield litigation to protect himself from the risk of double

         recovery that now pre-occupies him, he failed also to negotiate for any indemnity or hold

         harmless protection from the Satterfields when settling with them to protect against him

         the risk of double exposure for his theft (the types of protection which are routinely

         negotiated in settlement settings). 2 It is not the Court’s place to aid Mr. Murdaugh in

         renegotiating the terms of his settlement, but rather it is the Court’s place to honor and give

         effect to its finality – which is especially true following Murdaugh’s failed efforts in the

         State Court to upset the same. 3

    2. Murdaugh’s Reply insists that the Satterfields claim an interest in the present action

         because they “have sued Mr. Murdaugh for the same $3.8 million” of Nautilus funds that

         he stole in 2019. Murdaugh’s position reflects a fundamental misunderstanding of English

         tense. Yes, the Satterfields once sued Murdaugh, which action was resolved with finality

         against Murdaugh vis a vis a court approved Confession of Judgment. The fact that the

         Satterfields once sued Mr. Murdaugh in a prior piece of litigation (past tense), does not in



1
  Of course, it is reasonable to speculate that in response Nautilus would likely say that they never claimed an
interest in the Satterfield / Murdaugh litigation – which would seem to be a valid point of view.
2
  This is not to suggest, however, that indemnity was available, but rather that the time to seek it has passed.
3
  On Tuesday August 8, 2023 following a hearing on Murdaugh’s Motion to Vacate the Confessed Judgement he
gave to the Satterfields, the Honorable Bentley Price denied the relief requested and reaffirmed the validity of the
Confessed Judgment.

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         any way suggest that they claim (present tense) an interest in the ongoing dispute between

         Nautilus and Murdaugh. Still, Murdaugh’s Reply blurs the lines of tense by suggesting

         that somehow the Satterfields are pursuing an active interest against Murdaugh or others:

         “The Satterfield Parties’ complaint seeking to recover the same money Nautilus seeks to

         recover here, and their assertion of the judgment in their favor on that complaint …” To

         be certain, the Satterfields’ legal disputes with Mr. Murdaugh were long ago resolved

         despite Murdaugh’s repeated efforts to take back his promise of finality with them.

    3. In both the Satterfield litigation and in the present action, Murdaugh has repeatedly

         disavowed his own standing by urging the Courts that he is motivated by concerns for

         either the Receiver in the Satterfield action or for Murdaugh’s other uncompensated

         financial victims. Murdaugh lacks standing to advance the interests of either the Receiver

         and/or his other victims. Respectfully, Murdaugh’s only true interest is his concern for

         being exposed to double liability, and yet he is the author of his own problem by confessing

         now to have defrauded his insurance company (if that is to be believed), 4 by then stealing

         the money that was the product of his fraud and by settling with the Satterfields through a

         Confession of Judgment knowing of the existence of the contingent Nautilus liability. The

         doctrines of res judicata, collateral estoppel and/or judicial estoppel preclude Murdaugh’s

         continued attempts to litigate with the Satterfields and/or to take back his settlement and

         confessed judgment.

    4. Finally, we respectfully ask the Court in the interest of judicial economy to permit the

         Satterfields to be heard on these issues in a limited appearance rather than go through the

         time and expense of being added to this action only to make the same arguments for


4
 In both the filings before this Court and in the Satterfield Court, Murdaugh’s filings lack even so much as a
verification, let alone an affidavit or an under oath deposition admission.

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       dismissal later in either a motion to dismiss or motion for summary judgment. Murdaugh’s

       continued harassment and forcing the Satterfield sons to spend attorney’s fees and costs in

       having to defend against his naked attempt to shift his liability for his fraud and theft should

       end here now.



Charleston, South Carolina                    BLAND RICHTER, LLP
August 14, 2023                               Attorneys for Michael “Tony” Satterfield and
                                              Brian Harriott

                                              s/Ronald L. Richter, Jr.
                                              Ronald L. Richter, Jr. (Federal Bar No. 6264)
                                              s/Scott M. Mongillo
                                              Scott M. Mongillo (Federal Bar No. 7436)
                                              Peoples Building
                                              18 Broad Street, Mezzanine
                                              Charleston, South Carolina 29401
                                              T: 843.573.9900 | F: 843.573.0200
                                              ronnie@blandrichter.com
                                              scott@blandrichter.com


                                              s/ Eric S. Bland
                                              Eric S. Bland (Federal Bar No. 5472)
                                              105 West Main Street, Suite D
                                              Lexington, South Carolina 29072
                                              T: 803.256.9664 | F: 803.256.3056
                                              ericbland@blandrichter.com




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